                                                                SO ORDERED.


                                                                Dated: November 23, 2017



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                                                                Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                _________________________________
     3
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     6
     7                       IN THE UNITED STATES BANKRUPTCY COURT
     8                              FOR THE DISTRICT OF ARIZONA
     9
         In re:                                     Chapter 11 Proceedings
    10
         PARAMOUNT BUILDING                         Case No. 2:17-bk-10867-EPB
    11   SOLUTIONS, LLC
                                                    Case No. 2:17-bk-10868-EPB
    12   CLEANING SOLUTIONS, LLC                    Case No. 2:17-bk-10869-EPB
         JMS BUILDING SOLUTIONS, LLC                Case No. 2:17-bk-10870-EPB
    13   STARLIGHT BUILDING SOLUTIONS,
         LLC,
    14                                              (Jointly Administered)
                                Debtors.
    15                                              ORDER (I) APPROVING ASSET
                                                    PURCHASE AGREEMENT AND
    16                                              AUTHORIZING THE SALE OF CERTAIN
                                                    ASSETS OF DEBTORS OUTSIDE THE
    17
                                                    ORDINARY COURSE OF BUSINESS; (II)
    18                                              AUTHORIZING THE SALE OF ASSETS
                                                    FREE AND CLEAR OF ALL LIENS,
    19                                              CLAIMS, ENCUMBRANCES AND
                                                    INTERESTS; (III) AUTHORIZING THE
    20                                              ASSUMPTION, SALE AND ASSIGNMENT
                                                    OF CERTAIN EXECUTORY
    21
                                                    CONTRACTS AND UNEXPIRED LEASES;
    22                                              AND (IV) GRANTING RELATED RELIEF

    23            This matter comes before the Court pursuant to the Debtors' Motion For Entry Of

    24 Orders: (A)(I) Approving Bid Procedures Relating To Sale Of The Debtors' Assets; (II)
    25 Approving Bid Protections; (III) Scheduling A Hearing To Consider The Sale; (IV) Approving

    26 The Form And Manner Of Notice Of Sale By Auction; And (V) Granting Related Relief; And

    27 (B)(I) Approving Asset Purchase Agreement And Authorizing The Sale Of Certain Assets Of
    28 Debtors Outside The Ordinary Course Of Business; (II) Authorizing The Sale Of Assets Free


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28              Desc
                               Main Document    Page 1 of 18
     1 And Clear Of All Liens, Claims, Encumbrances And Interests; (III) Authorizing The
     2 Assumption, Sale And Assignment Of Certain Executory Contracts And Unexpired Leases; And

     3 (II) Granting Related Relief (the "Sale Motion")1 filed by Paramount Building Solutions, LLC,

     4 Cleaning Solutions, LLC, JMS Building Solutions, LLC, and Starlight Building Solutions, LLC
     5 (collectively, the "Debtors"). Pursuant to the Sale Motion, the Debtors seek an order, under

     6 Bankruptcy Code §§ 105(a), 363, 365 and Bankruptcy Rules 2002, 6004, and 6006, authorizing

     7 and approving the proposed sale of the Purchased Assets pursuant to the Asset Purchase
     8 Agreement between DW Jade, LLC, on behalf of its designate Jade Opco, LLC and the Debtors

     9 (the "Purchase Agreement"), a copy of which is attached hereto as Exhibit A. As designated

    10 by DW Jade, LLC pursuant to the Purchase Agreement, Jade Opco, LLC is the designated
    11 "Purchaser Designee" under the Purchase Agreement and "Buyer" under this Order.

    12         On November 15, 2017, the California Service Employees Health and Welfare Trust

    13 Fund filed an objection to the Sale Motion [Dkt. No. 122] (the "Trust Fund Objection"),
    14 arguing, among other things, that the assets of the Debtors could not be sold pursuant to

    15 Bankruptcy Code § 363(f), free and clear of successor liability claims for pre-petition

    16 obligations, including, obligations for pension liability on account of an under-funded multiple
    17 employer pension plan, delinquent ERISA contributions and withdrawal liability arising under a

    18 collective bargaining agreement which expired on September 5, 2017 (the "Collective

    19 Bargaining Agreement"). [Trust Fund Objection, Dkt. No. 122, pages 6, 12-14, 17-19 of 21].
    20 No other objections to the Sale Motion were filed.

    21         Shortly before November 17, 2017, the Debtors became aware that US Metro Group,

    22 Inc., ("US Metro") had short paid a receivable by approximately $230,000 (the "US Metro
    23 Receivable"). US Metro withheld the receivable pursuant to a claimed right of "offset". The

    24 Debtors, the Committee and the DIP Lender each contend that US Metro's actions in

    25 withholding payment were improper.
    26

    27   1
              All capitalized terms not otherwise defined herein shall have the meanings ascribed to
       them in the Purchase Agreement attached hereto as Exhibit A and previously attached to Sale
    28 Motion as Exhibit D thereto [Dkt. No. 12-2 Exhibit D-E].


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28               Desc
                               Main Document    Page 2 of 18
     1          The Court having considered the Motion and the Purchase Agreement, objections
     2 thereto, the declarations filed in this case, the statements of counsel and any testimony or offer

     3 of proof as to testimony on the record at the hearing on November 17, 2017 and at the continued

     4 hearing on November 21, 2017 (the "Sale Hearing"), including the offer of proof as to
     5 testimony from Debtors' counsel specifically addressing § 363(m), at which time all interested

     6 parties were offered an opportunity to be heard with respect to the Sale Motion and based upon

     7 the entire record before the Court; and it appearing that the relief requested in the Motion is in
     8 the best interests of the Debtors, their bankruptcy estates, their creditors, and other parties-in-

     9 interest; and sufficient cause appearing therefor;

    10 THE COURT HEREBY FINDS AS FOLLOWS:
    11          A.      Jurisdiction and Venue. This Court has jurisdiction to consider the Sale Motion

    12 under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of

    13 these cases and the Sale Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.
    14          B.      Statutory Predicates. The statutory predicates for the relief sought in the

    15 Motion are Bankruptcy Code §§ 105(a), 363 and 365 and Bankruptcy Rules 2002, 6004 and

    16 6006.
    17          C.      Notice. As evidenced by the affidavits of service filed with this Court and based

    18 upon the representations of counsel at the Sale Hearing: (i) due, proper, timely, adequate and

    19 sufficient notice of the Sale Motion, the Auction, the Sale Hearing and the transactions set forth
    20 in the Purchase Agreement (the "Transaction"), has been provided in accordance with

    21 Bankruptcy Code §§ 105(a), 363 and 365 and Bankruptcy Rules 2002, 6004 and 6006; (ii) it

    22 appearing that no other or further notice need be provided; (iii) such notice was and is good,
    23 sufficient and appropriate under the circumstances; and (iv) no other or further notice of the

    24 Sale Motion, the Auction, the Sale Hearing or the Transaction, is or shall be required.

    25          D.      Sale in the Best Interests. Good and sufficient reasons exist for approval of the
    26 Purchase Agreement, and the relief requested in the Sale Motion is in the best interests of the

    27 Debtors, their estates, their creditors, and other parties-in-interest.

    28


Case 2:17-bk-10867-EPB         Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                                Main Document    Page 3 of 18
     1          E.     Business Justification. Debtors have demonstrated good, sufficient and sound
     2 business purposes and compelling reasons for the Transaction other than in the ordinary course

     3 of business under Bankruptcy Code § 363(b), including that, among other things, the

     4 consummation of the Transaction with the Buyer is necessary and appropriate to maximize the
     5 value of the Debtors' estates. Entry of an order approving the Purchase Agreement and all the

     6 provisions thereof is a necessary condition to the Buyer consummating the transactions set forth

     7 in the Purchase Agreement.
     8          F.     Arm's-Length Sale. The Purchase Agreement was negotiated, proposed and

     9 entered into by the Debtors and the Buyer without collusion, in good faith and from arm's-

    10 length bargaining positions. The Buyer is not an "insider" of any of the Debtors, as that term is
    11 defined in Bankruptcy Code § 101(31). Neither the Debtors, nor the Buyer has engaged in any

    12 conduct that would cause or permit the Purchase Agreement to be avoided under Bankruptcy

    13 Code § 363(n). Specifically, the Buyer has not acted in a collusive manner with any person and
    14 the purchase price was not controlled by any agreement among bidders.

    15          G.     Good-Faith Buyer. Based upon the entire record before this Court, the Buyer is

    16 a good-faith purchaser of the Purchased Assets within the meaning of Bankruptcy Code §
    17 363(m) and, is therefore entitled to all of the protections afforded thereby. The Buyer has

    18 proceeded in good faith in all respects in connection with this proceeding in that: (a) Buyer

    19 recognized that the Debtors were free to deal with any other party interested in acquiring the
    20 Purchased Assets; (b) Buyer complied with the provisions in the Bidding Procedures Order

    21 dated November 14, 2017 [Dkt. No. 120] (the "Bidding Procedures Order"; (c) Buyer agreed

    22 to subject its bid to the competitive bidding procedures set forth in the Bidding Procedures
    23 Order; and (d) all payments to be made by the Buyer and other agreements or arrangements

    24 entered into by the Buyer in connection with the Transaction have been disclosed.

    25          H.     Highest and Best Offer. The Debtors conducted the Auction in accordance
    26 with, and have otherwise complied in all material respects with, the Bidding Procedures Order.

    27 The Auction established in the Bidding Procedures Order afforded a full, fair and reasonable

    28 opportunity for any person or entity to make a higher or otherwise better offer to purchase the


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                Desc
                               Main Document    Page 4 of 18
     1 Purchased Assets. The Auction was duly noticed and conducted in a non-collusive, fair and
     2 good faith manner and a reasonable opportunity was given to any interested party to make a

     3 higher and better offer for the Purchased Assets. The Purchase Agreement constitutes the

     4 highest and best offer for the Purchased Assets. The Debtors' determination that the Purchase
     5 Agreement constitutes the highest and best offer for the Purchased Assets is a valid and sound

     6 exercise of their fiduciary duty and constitutes a valid and sound exercise of the Debtors'

     7 business judgment.
     8          I.      Consideration. The consideration constitutes reasonably equivalent value or fair

     9 consideration, as the case may be (as those terms are defined in each of the Uniform Fraudulent

    10 Transfer Act, Uniform Fraudulent Conveyance Act and section 548 of the Bankruptcy Code),
    11 and fair consideration under the Bankruptcy Code. The Purchase Agreement represents a fair

    12 and reasonable offer to purchase the Purchased Assets under the circumstances of these chapter

    13 11 cases. No other person or entity or group of entities, other than the Buyer, has offered to
    14 purchase the Purchased Assets for an amount that would give greater economic value to the

    15 Debtors' estates. Approval of the Motion and the Purchase Agreement and the consummation of

    16 the transactions contemplated thereby are in the best interests of the Debtors, their creditors,
    17 their estates and all other parties in interest.

    18          J.      Free and Clear. The Debtors are the sole and lawful owner of the Purchased

    19 Assets, or have a valid, enforceable property interest in such assets. The transfer of the
    20 Purchased Assets to the Buyer under the Purchase Agreement will be a legal, valid, and

    21 effective transfer of the Purchased Assets, and vests or will vest the Buyer with all right, title,

    22 and interest of the Debtors to the Purchased Assets free and clear of all liens (as defined in
    23 Bankruptcy Code § 101(37) ("Liens"), claims (as defined in Bankruptcy Code § 101(5)

    24 ("Claims"), encumbrances, obligations, liabilities, contractual commitments or interests of any

    25 kind or nature whatsoever (collectively including Liens and Claims, the "Interests") other than
    26 the Assumed Liabilities, including, but not limited to, (i) those that purport to give to any party

    27 a right or option to effect any forfeiture, modification or termination of the Debtors' interests in

    28 the Purchased Assets, or any similar rights and (ii) those relating to taxes arising under or out


Case 2:17-bk-10867-EPB          Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                Desc
                                 Main Document    Page 5 of 18
     1 of, in connection with, or in any way relating to the operation of the Debtors' business prior to
     2 the Closing Date. For avoidance of doubt, all Interests other than the Assumed Liabilities shall

     3 attach to the cash proceeds received by the Debtors ultimately attributable to the property

     4 against or in which such Interests are asserted, subject to the terms of such Interests, with the
     5 same validity, force and effect, and in the same order of priority, which such Interests now have

     6 against the Purchased Assets or their proceeds, if any, subject to any rights, claims and defenses

     7 the Debtors or their estates, as applicable, may possess with respect thereto.
     8          K.      The Debtors may sell the Purchased Assets free and clear of any Interests of any

     9 kind or nature whatsoever because in each case, one or more of the standards set forth in section

    10 Bankruptcy Code § 363(f)(1)-(5) has been satisfied. Each entity with an Interest in the
    11 Purchased Assets to be transferred on the Closing Date: (i) has, subject to the terms and

    12 conditions of this Order, consented to the Transaction or is deemed to have consented to the

    13 Transaction; (ii) could be compelled in a legal or equitable proceeding to accept money
    14 satisfaction of such Interest; or (iii) otherwise falls within the provisions of Bankruptcy Code §

    15 363(f). Those holders of Interests who did not object to the Motion are deemed, subject to the

    16 terms of this Order, to have consented pursuant to Bankruptcy Code § 363(f)(2). All holders of
    17 Interests are adequately protected by having their Interests attach to the cash proceeds received

    18 by the Debtors that are ultimately attributable to the property against or in which such Interests

    19 are asserted, subject to the terms of such Interests, with the same validity, force and effect, and
    20 in the same order of priority, which such Interests now have against the Purchased Assets or

    21 their proceeds, if any, subject to any rights, claims and defenses the Debtors or their estates, as

    22 applicable, may possess with respect thereto.
    23          L.      No Fraudulent Transfer. The Purchase Agreement was not entered into for the

    24 purpose of hindering, delaying or defrauding creditors under the Bankruptcy Code and under

    25 the laws of the United States, any state, territory, possession, or the District of Columbia.
    26          M.      Not a Successor. Buyer (a) is not a successor to the Debtors, (b) has not, de

    27 facto or otherwise, merged with or into the Debtors, (c) is not a continuation or substantial

    28 continuation of the Debtors or any enterprise of the Debtors, (d) does not have a common


Case 2:17-bk-10867-EPB         Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                                Main Document    Page 6 of 18
     1 identity of incorporators, directors or equity holders with the Debtors, and (e) is not holding
     2 itself out to the public as a continuation of the Debtors. The (i) transfer of the Purchased Assets

     3 to Buyer and (ii) assumption and assignment to Buyer of the Assigned Contracts, do not and

     4 will not subject Buyer to any liability whatsoever with respect to the operation of the Debtors'
     5 business before the Closing Date or by reason of such transfer under the laws of the United

     6 States, any state, territory, or possession thereof, or the District of Columbia, based, in whole or

     7 in part, directly or indirectly, on any theory of law or equity, including, without limitation, any
     8 theory of equitable law, including, without limitation, any theory of antitrust or successor or

     9 transferee liability and, except as otherwise contained herein, in connection with any carve-out

    10 provided for in financing or cash collateral orders, or in the Purchase Agreement, Buyer shall
    11 not have any liability to any broker or other professionals retained by the Debtors or to cure any

    12 default of the Debtors related to the Purchased Assets or Assigned Contracts. In considering the

    13 Trust Fund Objection, the Court finds the well-reasoned opinion of Judge Walrath, as set forth
    14 In re Ormet Corp., persuasive. In re Ormet Corp., No. 13-10334, 2014 WL 3542133 (Bankr.

    15 D. Del. July 17, 2014). The Court concludes that § 363(f) of the Bankruptcy Code permits the

    16 sale of the Debtors' assets free and clear of any successor liability claim for pre-closing
    17 obligations arising under the Collective Bargaining Agreement, including any pension or trust

    18 agreement obligation arising therefrom.

    19          N.     Cure/Adequate Assurance. The assumption and assignment of the Assigned
    20 Contracts pursuant to the terms of this Order is integral to the Purchase Agreement and is in the

    21 best interests of the Debtors and their estates, creditors and all other parties in interest, and

    22 represents the reasonable exercise of sound and prudent business judgment by the Debtors. The
    23 Buyer has (i) to the extent necessary, cured or provided adequate assurance of cure, of any

    24 default existing prior to the date hereof with respect to the Assigned Contracts, within the

    25 meaning of 11 U.S.C. §§ 365(b)(1)(A) and 365(f)(2)(A), and (ii) to the extent necessary,
    26 provided compensation or adequate assurance of compensation to any party for any actual

    27 pecuniary loss to such party resulting from a default prior to the date hereof with respect to the

    28 Assigned Contracts, within the meaning of 11 U.S.C. § 365(b)(1)(B) and 365(f)(2)(A). The


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                               Main Document    Page 7 of 18
     1 Buyer's promise to perform the obligations under the Assigned Contracts after the Closing Date
     2 shall constitute adequate assurance of future performance within the meaning of 11 U.S.C.

     3 §§ 365(b)(1)(C), 365(b)(3) (to the extent applicable) and 365(f)(2)(B).

     4 THEREFORE, IT IS ORDERED THAT:
     5          1.      Motion is Granted. The Motion and the relief requested therein is granted and

     6 approved, as set forth herein.

     7          2.      Objections Overruled. The Trust Fund Objection is overruled on the merits
     8 with prejudice. Any further objections to the entry of this Order or the relief granted herein and

     9 requested in the Sale Motion including, that have not been withdrawn, waived, or settled, or not

    10 otherwise resolved, if any, hereby are denied and overruled on the merits with prejudice. The
    11 Purchased Assets shall transfer to the Buyer pursuant to § 363(f) of the Bankruptcy Code free

    12 and clear of any pre-closing successor liability claim arising under the Collective Bargaining

    13 Agreement, including, without limitation any pre-closing obligations pursuant to any multiple
    14 employer pension plan or Benefit Plan arising therefrom.

    15          3.      Approval. The Purchase Agreement is hereby approved. The Debtors are hereby

    16 authorized to (a) execute the Purchase Agreement, along with any additional instruments or
    17 documents that may be reasonably necessary or appropriate to implement the Purchase

    18 Agreement, (b) consummate the Transaction in accordance with the terms and conditions of the

    19 Purchase Agreement; and (c) take all other and further actions as may be reasonably necessary
    20 to implement the transactions contemplated in the Purchase Agreement.

    21          4.      Free and Clear. Except as otherwise specifically provided for in the Purchase

    22 Agreement or this Order, pursuant to Bankruptcy Code §§ 105(a) and 363(f), the Debtors are
    23 authorized to transfer the Purchased Assets to the Buyer and, as of the Closing Date, the Buyer

    24 shall take title to and possession of the Purchased Assets free and clear of all Interests of any

    25 kind or nature whatsoever, including but not limited to the Liens, Claims and Excluded
    26 Liabilities, with all such Interests to attach to the cash proceeds received by the Debtors that are

    27 ultimately attributable to the property against or in which such Interests are asserted, subject to

    28 the terms of such Interests, with the same validity, force and effect, and in the same order of


Case 2:17-bk-10867-EPB         Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                                Main Document    Page 8 of 18
     1 priority, which such Interests now have against the Purchased Assets or their proceeds, if any,
     2 subject to any rights, claims and defenses the Debtors or their estates, as applicable, may

     3 possess with respect thereto. The Purchased Assets shall transfer to the Buyer pursuant to

     4 § 363(f) of the Bankruptcy Code free and clear of any pre-closing successor liability claim
     5 arising under the Collective Bargaining Agreement, any multiple employer pension plan or

     6 Benefit Plan.

     7          5.     Carve Out for Certain Professionals. The debtor-in-possession lender, DW
     8 Jade, LLC (the "DIP Lender") shall carve-out from its Collateral and fund $325,000 on the

     9 Closing Date for the sole and exclusive payment of the combined fees and expenses of

    10 Committee counsel, Debtors counsel, and the US Trustee. To the extent any of the $325,000
    11 carve-out remains after satisfaction in full of the fees and expenses of Committee counsel,

    12 Debtors counsel, and the US Trustee, the remaining funds shall be used to satisfy allowed

    13 general unsecured claims. For the avoidance of all doubt, aside from the $325,000 set forth
    14 above, the DIP Lender shall not be required to carve out or pay over any additional amounts

    15 under this paragraph 5.

    16          6.     Carve Out for General Unsecured Claims. In the event there is a cash shortfall
    17 on the Closing Date resulting from nonpayment of the US Metro Receivable that would

    18 otherwise prevent the Closing, then: (i) the DIP Lender shall carve-out from its Collateral and

    19 pay $100,000 on the Closing Date for the sole and exclusive benefit of the holders of allowed
    20 general unsecured claims; and (ii) any right to recover from the US Metro Receivable shall

    21 remain with the estates and any recovery on the US Metro Receivable shall be split 50% to the

    22 Debtors (for the sole and exclusive benefit of the holders of allowed general unsecured claims)
    23 and 50% to the Buyer until the Debtors have recovered $100,000 from the US Metro Receivable

    24 (which such funds held by Debtors shall be held for the sole and exclusive benefit of the holders

    25 of allowed general unsecured claims) and thereafter any additional recovery above such
    26 amounts shall be paid over to the Buyer.

    27          In the event there is not a cash shortfall on the Closing Date resulting from nonpayment

    28 of the US Metro Receivable that would otherwise prevent the Closing, then the DIP Lender


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                Desc
                               Main Document    Page 9 of 18
     1 shall carve-out from its Collateral and pay $200,000 for the sole and exclusive benefit of the
     2 holders of allowed general unsecured claims. For the avoidance of doubt, the DIP Lender's

     3 deficiency claim, if any, shall not be entitled to any distribution from the carve-outs under the

     4 paragraph 6.
     5         For the avoidance of all doubt, aside from the $200,000 set forth above, the DIP Lender

     6 shall not be required to carve out or pay over any additional amounts under this paragraph 6.

     7         7.      Transfer of Estate Kucera Claims and Potential Recovery for General
     8 Unsecured Creditors from Kucera Actions. The Debtors assert that they have certain claims

     9 against Glen Kucera, the former Chief Executive Officer of the Debtors, including, without

    10 limitation:
    11                    a.   claims which have been or may be asserted pursuant to the action

    12                         pending in the United States District Court for the District of Arizona,

    13                         Case No. 2:17-cv-02265-DGC;
    14                    b. all actions against Glen Kucera by any Debtor for failure to pay over trust

    15                         fund taxes;

    16                    c. actions against Glen Kucera based on his negligent or gross negligent or
    17                         reckless breach of any duty to any Debtor;

    18                    d. all possible actions by any Debtor against Glen Kucera related to his

    19                         receipt of shares in a minority owned business, including, without
    20                         limitation, TrooperUSA or any other contractor of American Airlines or

    21                         other customer of the Debtors or any other personal or pecuniary benefit

    22                         received from or through a customer of the Debtors; and
    23                    e. any other causes of action, claims and rights against Glen Kucera by any

    24                         Debtor or the estate of any Debtor (all such claims held by the Debtors or

    25                         the estates, including, without limitation, a, b, c, d and e herein are
    26                         defined as the "Estates Kucera Claims").

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Case 2:17-bk-10867-EPB         Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                Desc
                               Main Document    Page 10 of 18
     1          DW Jade, LLC asserts that it holds separate claims against Glen Kucera (the "DW Jade
     2 Kucera Claims"). Together the DW Jade Kucera Claims and the Estates Kucera Claims are

     3 referred to herein as the "Combined Kucera Claims".

     4          Upon Closing Debtors shall transfer to the Buyer or its designee all of the Estate Kucera
     5 Claims including all rights related thereto, free and clear of all Liens, Claims and Interests.

     6 Upon Closing, Buyer or its designee shall have sole legal title, standing, and all rights and

     7 powers to prosecute, defend, and settle in any amount, each of the Combined Kucera Claims in
     8 Buyer's or its designee's sole and absolute discretion. Buyer shall remit thirty-percent (30%) of

     9 any net cash recovery (including, but not limited to, net of any professional fees and expenses

    10 and any setoffs) from the Combined Kucera Claims for the sole and exclusive benefit of the
    11 holders of allowed general unsecured claims. Notwithstanding anything set forth herein, the

    12 Estate Kucera Claims will be assigned in a way that maintains the coverage under the applicable

    13 insurance policy or policies covering such claims, but the proceeds of any recovery will be
    14 distributed in accordance with the allocation procedure set forth in this order. All other claims

    15 against the Debtors' directors and officers shall remain with the estates and inure to the benefit

    16 of the general unsecured creditors.
    17          Notwithstanding any language in the Sale Motion, any prior proposed draft of this

    18 Order, the Purchase Agreement, or any related pleadings (including this Order) to the contrary,

    19 following a sale and transfer or assignment of the Estate Kucera Claims, including, without
    20 limitation, the counterclaim filed by Paramount in Case No. 2:17-cv-02265-DGC before the

    21 United States District Court for the District of Arizona to the Buyer or its designee, each of the

    22 Combined Kucera Claims shall remain subject to any defenses Kucera currently may have to
    23 those claims, including the right to setoff, recoupment, and any other defenses of any type or

    24 nature that Kucera has or may have to such claims.

    25          8.     Segregation of Advantage Receivables. Pursuant to a Participation Agreement
    26 dated July 18, 2016, Huntington National Bank, as the successor-in-interest to FirstMerit Bank

    27 B.A., received a participation in the senior secured loans to the Debtors held by Buyer. Pursuant

    28 to its participation, Huntington received rights to proceeds of identified accounts receivable (the


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                              Main Document    Page 11 of 18
     1 "Advantage Receivables"). Prior to the Closing Date of the Sale, the Debtor shall continue to
     2 segregate their collection of the Advantage Receivables into a separate cash account. Prior to

     3 Closing, any collected Advantage Receivables shall be paid over to Huntington Bank on a

     4 monthly basis and applied to principal. Upon Closing, all remaining Advantage Receivables
     5 collected and not yet remitted to Huntington shall be turned over to Huntington.

     6          9.     Segregation of Texas Sales Tax. Prior to the Closing Date, the Debtor shall

     7 continue to segregate any and all post-petition Texas sales tax into a separate cash account.
     8 Upon Closing, all remaining collected Texas Sales Tax not yet remitted shall be turned over to

     9 the appropriate Texas taxing authority.

    10          10.    Pennsylvania and Texas Sale Tax. Any amounts that are agreed to be due or
    11 finally adjudicated to be due (a "Determination"), for Pennsylvania or Texas sale tax shall be

    12 assumed and either (i) paid by the Buyer at such time of the Determination or (ii) otherwise paid

    13 by Buyer pursuant to the terms of a negotiated agreement between the Buyer and the
    14 aforementioned parties.

    15          11.    Valid Transfer. As of the Closing Date, (a) the transactions contemplated by the

    16 Purchase Agreement effect a legal, valid, enforceable and effective sale and transfer of the
    17 Purchased Assets to Buyer, and shall vest Buyer with title to such assets free and clear of all

    18 Liens, Claims, Interests and Excluded Liabilities and (b) the Purchase Agreement and the

    19 transactions and instruments contemplated hereby shall be enforceable against and binding upon
    20 Buyer and Seller, and not subject to rejection or avoidance by the Debtors or any chapter 11 or

    21 chapter 7 trustee of the Debtors and their estates.

    22          12.    General Assignment. On the Closing Date, this Order shall be construed and
    23 shall constitute for any and all purposes a full and complete general assignment, conveyance

    24 and transfer to Buyer of the Debtors' interests in the Purchased Assets. Each and every federal,

    25 state, and local governmental agency or department is hereby authorized to accept any and all
    26 documents and instruments necessary and appropriate to consummate the transactions

    27 contemplated by the Purchase Agreement.

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Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                Desc
                              Main Document    Page 12 of 18
     1          13.     Release of Interests. Subject to Paragraphs 4 (Free and Clear) and 28 (Sale
     2 Proceeds) of this Order, this Order shall be effective as a determination that, on the Closing

     3 Date, all Interests other than the Assumed Liabilities of any kind or nature whatsoever existing

     4 as to the Purchased Assets prior to the Closing Date have been unconditionally released,
     5 discharged and terminated, and that the conveyances described herein have been effected.

     6          14.     Direction to Release Interests. On the Closing Date and subject to the Interests

     7 attaching to the cash proceeds of the Sale as provided for in Paragraphs 4 (Free and Clear) and
     8 28 (Sale Proceeds) of this Order, each of the Debtors' creditors is authorized and directed to

     9 execute such documents and take all other actions as may be reasonably necessary to release its

    10 Interests in the Purchased Assets, if any, as such Interests may have been recorded or may
    11 otherwise exist.

    12          15.     No Successor Liability. Neither Buyer nor its affiliates, successors or assigns

    13 shall be deemed, as a result of any action taken in connection with the purchase of the
    14 Purchased Assets, to: (a) be a successor to the Debtors or their estates; (b) have, de facto or

    15 otherwise, merged or consolidated with or into the Debtors or their estates; or (c) be a

    16 continuation or substantial continuation of the Debtors or any enterprise of the Debtors. Except
    17 for the Assumed Liabilities, the transfer of the Purchased Assets to Buyer under the Purchase

    18 Agreement shall not result in (i) Buyer, its affiliates, members, or shareholders, or the

    19 Purchased Assets, having any liability or responsibility for any claim against the Debtors or
    20 against an insider of the Debtors, (ii) Buyer, its affiliates, members, or shareholders, or the

    21 Purchased Assets, having any liability whatsoever with respect to or be required to satisfy in

    22 any manner, whether at law or in equity, whether by payment, setoff or otherwise, directly or
    23 indirectly, any Lien, Claim, Interest or Excluded Liability, or (iii) Buyer, its affiliates, members,

    24 or shareholders, or the Purchased Assets, having any liability or responsibility to the Debtors

    25 except as is expressly set forth in the Purchase Agreement. The Purchased Assets shall transfer
    26 to the Buyer pursuant to § 363(f) of the Bankruptcy Code free and clear of any pre-closing

    27 successor liability claim arising under the Collective Bargaining Agreement, any multiple

    28 employer pension plan or Benefit Plan.


Case 2:17-bk-10867-EPB         Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                               Main Document    Page 13 of 18
     1          16.    Assumption and Assignment of Assigned Contracts. Under 11 U.S.C. §§
     2 105(a) and 365, and subject to and conditioned upon the Closing of the Transaction, the

     3 Debtors' assumption and assignment of the Assigned Contracts to the Buyer free and clear of all

     4 Interests pursuant to the terms set forth in the Purchase Agreement, as modified by the terms of
     5 any amendments reached with the respective counterparty, is hereby approved, and the

     6 requirements of 11 U.S.C. §§ 365(b)(1), 365(b)(3) and 365(f)(2) with respect thereto are hereby

     7 deemed satisfied. Following reasonable notice and an opportunity for a hearing, each
     8 counterparty to an Assigned Contract hereby is forever barred, and estopped from raising or

     9 asserting against the Debtors, or Buyer, or the property of either, any assignment fee, default,

    10 breach, claim, pecuniary loss, liability or obligation (whether legal or equitable, secured or
    11 unsecured, matured or unmatured, contingent or non-contingent, senior or subordinate) arising

    12 under or related to the Assigned Contracts existing as of the Closing Date or arising by reason

    13 of the Closing. Any provisions in any Assigned Contract that prohibit or condition the
    14 assignment of such Assigned Contract or allow the party to such Assigned Contract to

    15 terminate, recapture, impose any penalty, condition on renewal or extension or modify any term

    16 or condition upon the assignment of such Assigned Contract, are either deemed satisfied or
    17 constitute unenforceable anti-assignment provisions that are void and of no force and effect.

    18          17.    Upon the Closing, in accordance with Bankruptcy Code §§ 363 and 365 (i) the

    19 Buyer shall be fully and irrevocably vested with all right, title and interest of the Debtors under
    20 the Assigned Contracts; and (ii) the Debtors shall be relieved from any liability for any breach

    21 of such Assigned Contracts occurring thereafter pursuant to Bankruptcy Code §365(k).

    22          18.    To the extent any governmental license or permit is necessary for the operation
    23 of the business is determined not to be an executory contract assumable and assignable under

    24 Bankruptcy Code § 365, Buyer shall apply for and obtain any necessary license or permit

    25 promptly after the Closing and to the extent permitted by law such licenses or permits of the
    26 Debtors shall remain in place for the Buyer's benefit until new licenses and permits are

    27 obtained. Debtors shall have no liability under such licenses or permits after Closing.

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Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                   Desc
                              Main Document    Page 14 of 18
     1           19.     Notwithstanding anything herein to the contrary and subject to the Purchase
     2 Agreement, Buyer may remove any Contract from the list of Assigned Contracts (and thereby

     3 exclude such Contract from the definition of Assigned Contracts) by providing written notice to

     4 the Debtors and the counter-parties to such contract(s) at least three (3) business days prior to
     5 the Closing.

     6           20.     Continued Access: After the Sale Closing Date, for the purpose of facilitating

     7 the orderly liquidation of the estates, Buyer shall provide the estate fiduciaries with reasonable
     8 access to (i) Debtors' management team that continues to be employed by Buyer and (ii)

     9 Debtors' books and records.

    10           21.     Binding Effect of Order. This Order shall be binding upon and shall govern the
    11 acts of all entities, including without limitation all filing agents, filing officers, title agents, title

    12 companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

    13 agencies, governmental departments, secretaries of state, federal, state and local officials, and
    14 all other persons and entities who may be required by operation of law, the duties of their office,

    15 or contract, to accept, file, register or otherwise record or release any documents or instruments,

    16 or who may be required to report or insure any title or state of title in or to any of the Purchased
    17 Assets.

    18           22.     Binding on Successors. The terms and provisions of the Purchase Agreement

    19 and this Order shall be binding in all respects upon the Debtors, their estates, all creditors of
    20 (whether known or unknown) and holders of equity interests in, the Debtors, Buyer and their

    21 respective affiliates, successors and assigns, and any affected third parties, including, but not

    22 limited to, all persons asserting Interests in the Purchased Assets and all non-Debtor
    23 counterparties to the Assigned Contracts, notwithstanding any subsequent appointment of any

    24 trustee of the Debtors under any chapter of the Bankruptcy Code, as to which trustee(s) such

    25 terms and provisions likewise shall be binding. This Order and the Purchase Agreement shall
    26 inure to the benefit of the Debtors, their estates, their creditors, the Buyer, and their respective

    27 successors and assigns.

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Case 2:17-bk-10867-EPB          Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                      Desc
                                Main Document    Page 15 of 18
     1          23.     Bankruptcy Code §363(n). The consideration provided by Buyer for the
     2 Purchased Assets under the Purchase Agreement is fair and reasonable and may not be avoided

     3 under Bankruptcy Code § 363(n).

     4          24.     Good Faith. The transactions contemplated by the Purchase Agreement are
     5 undertaken by Buyer without collusion and in good faith, as that term is used in Bankruptcy

     6 Code § 363(m) and, accordingly, the reversal or modification on appeal of the authorization

     7 provided herein to consummate the Transaction shall not affect the validity of the Transaction
     8 (including the assumption and assignment of the Assigned Contracts) with Buyer, unless such

     9 authorization is duly stayed pending such appeal. Buyer is a good faith purchaser of the

    10 Purchased Assets, and is entitled to all of the benefits and protections afforded by Bankruptcy
    11 Code § 363(m).

    12          25.     Fair Consideration. The consideration provided by the Buyer to the Debtors

    13 pursuant to the Purchase Agreement for its purchase of the Purchased Assets constitutes
    14 reasonably equivalent value and fair consideration under the Bankruptcy Code, the Uniform

    15 Fraudulent Transfer Act, and the Uniform Fraudulent Conveyance Act.

    16          26.     Surrender of Possession. The Debtors shall exercise commercially reasonable
    17 efforts to assure that all entities that are presently, or on the Closing Date may be, in possession

    18 of some or all of the Purchased Assets in which the Debtors hold an interest will surrender

    19 possession of the Purchased Assets either to (i) the Debtors before the Closing Date, or (ii) to
    20 Buyer on the Closing Date.

    21          27.     Retention of Jurisdiction. This Court retains jurisdiction, pursuant to its

    22 statutory powers under 28 U.S.C. § 157(b)(2), to, among other things, interpret, implement, and
    23 enforce the terms and provisions of this Order and the Purchase Agreement, all amendments

    24 thereto and any waivers and consents thereunder and each of the agreements executed in

    25 connection therewith. This Court further retains jurisdiction, pursuant to its statutory powers
    26 under 28 U.S.C. § 157(b)(2), to resolve any dispute regarding any account receivable purchased

    27 under the Purchase Agreement, including specifically, without limitation, the US Metro

    28 Receivable or any other receivable with or involving US Metro.


Case 2:17-bk-10867-EPB         Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                 Desc
                               Main Document    Page 16 of 18
     1          28.    Sale Proceeds. Any and all valid and perfected Interests in Purchased Assets of
     2 the Debtors shall attach to any cash proceeds of such assets immediately upon receipt of such

     3 proceeds by the Debtors (or any party acting on the Debtors' behalf) in the order of priority, and

     4 with the same validity, force and effect which they now have against such assets, if any, subject
     5 to any rights, claims and defenses the Debtors or their estates, as applicable, may possess with

     6 respect thereto, and, in addition to any limitations on the use of such cash proceeds pursuant to

     7 any provision of this Order.
     8          29.    Non-material Modifications. The Purchase Agreement and any related

     9 agreements, documents or other instruments may be modified, amended or supplemented by the

    10 parties thereto, in a writing signed by such parties, and in accordance with the terms thereof,
    11 without further order of the Court, provided that any such modification, amendment or

    12 supplement does not have a material adverse effect on the Debtors' estates.

    13          30.    Subsequent Plan Provisions. Nothing contained in any chapter 11 plan
    14 confirmed in the Debtors' cases or any order confirming any such plan or in any other order in

    15 these chapter 11 cases (including any order entered after any conversion of any of these cases to

    16 a case under chapter 7 of the Bankruptcy Code) shall alter, conflict with, or derogate from, the
    17 provisions of the Purchase Agreement or this Order.

    18          31.    Failure to Specify Provisions. The failure specifically to include any particular

    19 provisions of the Purchase Agreement in this Order shall not diminish or impair the
    20 effectiveness of such provisions, it being the intent of the Court that the Purchase Agreement be

    21 authorized and approved in its entirety; provided, however, that this Order shall govern if there

    22 is any inconsistency between the Purchase Agreement (including all ancillary documents
    23 executed in connection therewith) and this Order. Likewise, all of the provisions of this Order

    24 are nonseverable and mutually dependent.

    25          32.    No Stay of Order. Notwithstanding the provisions of Bankruptcy Rule 6004(h)
    26 and Bankruptcy Rule 6006(d), this Order shall not be stayed for fourteen days after the entry

    27 hereof, but shall be effective and enforceable immediately upon issuance hereof. Time is of the

    28 essence in closing the transactions referenced herein, and the Debtors and Buyer intend to close


Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                 Desc
                              Main Document    Page 17 of 18
     1 the Transaction as soon as practicable. Any party objecting to this Order must exercise due
     2 diligence in filing an appeal and pursuing a stay, or risk its appeal being foreclosed as moot.

     3          33.    Choice of Law.      Notwithstanding anything to the contrary in the Purchase

     4 Agreement, the Purchase Agreement shall be governed by and construed in accordance with
     5 Federal Bankruptcy Law, to the extend applicable, and where state law is implicated, the laws

     6 of the State of Arizona shall govern. The fees of professionals engaged by DIP Lender shall be

     7 subject to applicable reasonableness standards under Arizona law.
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     9                                 DATED AND SIGNED ABOVE.

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Case 2:17-bk-10867-EPB        Doc 141 Filed 11/23/17 Entered 11/27/17 09:37:28                  Desc
                              Main Document    Page 18 of 18
